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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

UNITED STATES OF AMERICA
v.                                                     NO.      3:22-mj-00884-BK-1

RAYNALDO RIVERA ORTIZ JR.


                                 MOTION FOR DETENTION

        The United States moves for detention of defendant, Raynaldo Rivera Ortiz Jr.,

pursuant to Crim. Rule 5(d)(3) and 18 U.S.C. §3142.

        1. Eligibility of Case. This case is eligible for a detention order because the case

involves (check all that apply):

                       Crime of violence (18 U.S.C. §3156);

                  X Maximum sentence life imprisonment or death
                    (see 18 U.S.C. § 1365(a)(2))

                       10 + year drug offense

                       Felony, with two prior convictions in above categories

                   X Serious risk defendant will flee

                       Serious risk obstruction of justice

                       Felony involving a minor victim

                        Felony involving a firearm, destructive device, or any other

                        dangerous weapon

                        Felony involving a failure to register (18 U.S.C. § 2250)


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        2. Reason for Detention. The Court should detain defendant because there are no

conditions of release which will reasonably assure (check one or both):

                    X Defendant’s appearance as required

                    X Safety of any other person and the community

        3. Rebuttable Presumption. The United States will invoke the rebuttable

presumption against defendant because (check one or both):

                       Probable cause to believe defendant committed 10+ year drug

                        offense or firearms offense, 18 U.S.C.§924(c)

                       Probable cause to believe defendant committed a federal crime of

                        terrorism, 18 U.S.C. §2332b(g)(5)

                       Probable cause to believe defendant committed an offense involving

                        a minor, 18 U.S.C. §§1201, 2251

                       Previous conviction for “eligible” offense committed while on

                        pretrial bond

                       Probable cause to believe Defendant violated terms of

                pretrial release, 18 U.S.C. § 3148.

        4. Time For Detention Hearing. The United States requests the Court conduct the

detention hearing,

                  X    At first appearance

                       After continuance of ____days (not more than 3).




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DATED this 13th day of September, 2022.

                                           Respectfully submitted,

                                           CHAD E. MEACHAM
                                           UNITED STATES ATTORNEY

                                           s/ John J. de la Garza III
                                           John J. de la Garza III
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                                CERTIFICATE OF SERVICE

        I hereby certify that true and correct copies of this document were served this day

on counsel of record by electronically filing the document with the clerk of court for the

U.S. District Court, Northern District of Texas using the ECF system.


                                           s/ John J. de la Garza III
                                           John J. de la Garza III
                                           Assistant United States Attorney




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